             Case 1:23-cr-00313-ALC Document 9 Filed 07/05/23 Page 1 of 2



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June 30, 2023

Via email:

Magistrate Judge Hon. Sarah L. Cave
United States Courthouse for the Southern District of New York
500 Pearl Street
New York, NY 10007

                   Re:      23-cr-00313-ALC – United States v. Jordan Meadow

Dear Magistrate Judge Cave,

        As your honor knows, this firm represents Mr. Jordan Meadow in the above referenced
matter, and Mr. Meadow was arraigned before Your Honor yesterday June 29th, 2023 and was
released on bail. We are hereby respectfully requesting a modification to Mr. Meadow’s bail
conditions to allow him to attend an interview in Las Vegas, Nevada on Wednesday, July 5,
2023 and return to New Jersey immediately after.

         Mr. Meadow’s bail conditions currently allow for travel in the Southern and Eastern
Districts of New York, and New Jersey, and there is also a one-time exception that he is able to
travel in the District of Nevada to assist his Fiancé with travelling back to New Jersey with their
two young children. Mr. Meadow has been in communication with a prospective employer in
Las Vegas where he has an opportunity to work as a salesman at a company called Nvision
which does audio/visual set ups for conferences around the country. Mr. Meadow has advised us
at the request of the government that his employment will be remote with perhaps occasional
trips to headquarters in Las Vegas.




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             Case 1:23-cr-00313-ALC Document 9 Filed 07/05/23 Page 2 of 2

                                                                                     June 30, 2023
                                                                                            Page 2



        The government has requested that Mr. Meadow ask the potential employer whether the
interview can be conducted on Zoom. Mr. Meadow has advised us that he has inquired with his
prospective employer accordingly, and they responded stating that the interview would include a
tour of the facilities at the office and an introduction to other employees working at Nvision in
person. Please see the attached email from the prospective employer.

        We been in touch with Assistant US Attorney Nicholas Folly throughout today, and have
continuously advised him of the details of this request. The government has advised us that we
should request permission for the bail modification from Mr. Meadow’s pre-trial services officer.
We have been attempting to get in touch with Mr. Meadow’s pre-trial services officer, named
Taylor Nisbeth, but she has left the office ahead of the holiday weekend. We then contacted the
pre-trial services supervising officer Leah Harmon who has advised us that the permission of
pre-trial services is not necessary for this request.

        Lastly, Mr. Meadow is currently on his way to Las Vegas to assist his fiancé with
travelling back to New Jersey with their two young children and pursuant to his bail conditions,
he has booked a flight to return to New Jersey tomorrow afternoon. We hereby respectfully
request that your honor grant the modification to Mr. Meadow’s bail conditions so that he may
return on Wednesday, July 5th 2023 rather than tomorrow, July 1st 2023.
 Application GRANTED. Mr. Meadow may remain
                                                   Respectfully Submitted,
 in Las Vegas until July 5, 2023, returning to the
 NY area on that date. Each day, at a time
                                                   /s/ Ira Lee Sorkin
 determined by his PTS, he shall contact his PTS
                                                   Ira Lee Sorkin, Esq.
 officer by telephone and confirm his location and
 compliance with the other bail conditions, which     Mr. Meadow shall also provide his flight itinerary
 the
Cc:  Court previously set and remain  in effect.      to his PTS officer ASAP and contact his PTS
                                                      officer promptly on returning to his residence.
Assistant US Attorney Nicholas Folly                  SO ORDERED.

Nicholas.folly@usdoj.gov                              ___________________________________
                                                      USMJ 6/30/2023




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